      Case 2:15-cv-03432-JHS Document 18 Filed 10/05/15 Page 1 of 8




                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
THOMAS A. ORMAN, ET AL.,          :
                                  :
            Plaintiffs,
                                  :
            v.                    : CIVIL ACTION NO. 2:15-CV-03432-JHS
CITIMORTGAGE, ET AL.,             :
                                  :
            Defendants.           :
 DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFFS’ MOTION TO
          WITHDRAW COMPLAINT WITHOUT PREJUDICE

       Defendants, CitiMortgage, Inc., Cory O’Bryant, LaTanya M. Brigham, Sybil

Short, Helene E. Robinson, Gillian Howard, Mortgage Electronic Registration Systems,

Inc., Sandra A. West, Ballard Spahr LLP, Nathan Catchpole, Esq., Martin C. Bryce, Esq.,

and Daniel JT McKenna, Esq. (“Defendants”), by and through their undersigned Counsel,

hereby submit their Response in Opposition to Plaintiffs’ Motion to Withdraw Complaint

Without Prejudice (“Motion to Withdraw”) filed by Plaintiffs Thomas A. Orman and

Leslie E. Orman (the “Ormans”), and ask the Court to enter an Order dismissing

Plaintiffs’ claims with prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(B).

I.     INTRODUCTION

       The Orman’s Motion to Withdraw is the latest in a long line of dilatory litigation

tactics utilized by the Ormans against Defendants over the past several years. This is the

third federal action brought by the Ormans against defendant CitiMortgage, Inc.

(“CitiMortgage”), all of which were based on the same set of allegations. The first action

was brought by the Ormans in 2011 following their default on a loan held by

CitiMortgage. CitiMortgage moved to dismiss that action pursuant to Fed. R. Civ. P.

12(b)(6), and in response, the Ormans dismissed the action pursuant to Fed. R. Civ. P.
       Case 2:15-cv-03432-JHS Document 18 Filed 10/05/15 Page 2 of 8




41(a)(1), and immediately re-filed a second action, which was ultimately dismissed with

prejudice by this Court.

         This action was commenced by the Ormans on June 18, 2015 in an attempt to

delay a foreclosure action brought against them by CitiMortgage, which is currently

pending in the Court of Common Pleas for Chester County. On August 24, 2015, the

Ormans filed an improper amended Complaint without leave of Court, in an attempt to

thwart Defendants’ attempt to dismiss the action. On September 10, 2015, Defendants

filed motions to dismiss the Amended Complaint, and on September 18, 2015, the Court

entered an Order scheduling a hearing on the motions to dismiss for October 7, 2015. In

response, the Ormans filed the instant Motion to Withdraw on September 29, 2015,

requesting leave to dismiss their claims without prejudice, and representing that they

“intend to proceed at a later date” after their “causes of action are ripe for adjudication.”

See Motion to Withdraw at p. 2.

         While Defendants do not oppose the dismissal of the Ormans’ baseless claims, the

Ormans’ request that the claims be dismissed without prejudice is improper, as any such

dismissal must be with prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(B). The claims

raised by the Ormans in the Amended Complaint are premised upon the very same

allegations underlying their first federal action. Moreover, while CitiMortgage is the

only defendant that was a party to the previous federal action the Ormans voluntarily

dismissed, all additional defendants named in this action are in privity with CitiMortgage.

Therefore, because the Ormans’ dismissed their claims against CitiMortgage without

prejudice in 2011, their dismissal of this action should operate as an adjudication on the

merits as to all Defendants.



DMEAST #22914044 v4
                                                 2
       Case 2:15-cv-03432-JHS Document 18 Filed 10/05/15 Page 3 of 8




II.      STATEMENT OF FACTS

         Defendants hereby incorporate the Statement of Facts contained within

CitiMortgage’s Motion to Dismiss filed on September 10, 2015 (the “Motion to

Dismiss”).

         A.       The Ormans’ Previous Litigation

         As noted in the Motion to Dismiss, the Ormans commenced Orman I1 on January

7, 2011, shortly after their default on the Loan.2 On March 8, 2011, CitiMortgage filed a

motion to dismiss the complaint pursuant to Fed. R. Civ. P. 12(b)(6), and on March 14,

2011, the Ormans filed an amended complaint.          See Exhibit ‘A’.     The amended

Complaint purported to raise claims for: (1) violations of the Truth in Lending Act

(“TILA”) and the Real Estate Settlement Procedures Act (“RESPA”), see Exhibit ‘A’ at

¶¶ 10-23; and (2) rescission under TILA. See Exhibit ‘A’ at ¶¶ 24-26. These claims were

based on the allegations that “[t]here is a question in this mortgage as to WHO

EXACTLY IS THE OWNER OF THE NOTE AND MORTGAGE . . . Fannie Mae is

registered with MERS as the “investor” of the note […] [t]he use of MERS in this

mortgage forever clouds the title of the property, as there will be continual questions to

who has any beneficial interest in the property . . . .” See id. at ¶ 26. The amended

complaint requested the following relief:


1
         As set forth in CitiMortgage’s Motion to Dismiss, the term Orman I refers to the
         action filed by the Ormans in this Court on January 7, 2011, which was docketed
         as Orman v. MortgageIt, et al., No. 2:11-cv-00139-JHS (E.D. Pa., filed Jan. 7,
         2011). True and correct copies of the docket report for Orman I and the amended
         complaint filed therein are collectively attached hereto as Exhibit ‘A’.
2
         Unless otherwise specified capitalized terms shall have the same meaning as set
         forth in CitiMortgage’s Motion to Dismiss.

DMEAST #22914044 v4
                                                3
       Case 2:15-cv-03432-JHS Document 18 Filed 10/05/15 Page 4 of 8




         1. Defendant(s) each of them, be forever enjoined from asserting any
            estate, right, title or interest in the subject property adverse to Plaintiff
            herein;

         2. An order compelling said Defendant(s) to transfer legal title of the
            subject property to Plaintiff herein;

         3. Quieted title to the property 888 Woodlawn Ave, Phoenixville, PA
            19460.

See id. CitiMortgage filed a motion to dismiss the amended complaint on March 31,

2011, and on May 16, 2011 the Court entered an order scheduling oral argument on the

motion to dismiss for June 16, 2011. See Orman I docket report, Exhibit ‘A’. In

response, the Ormans filed a notice of voluntary dismissal, and on May 17, 2011 an

Order was entered dismissing Orman I without prejudice. See id.

         As discussed in Defendants’ Motion to Dismiss, the Ormans filed Orman II3

immediately after dismissal of Orman I. In response, CitiMortgage filed a motion to

dismiss pursuant to Fed. R. Civ. P. 12(b)(6), and Orman II was ultimately dismissed with

prejudice by this Court.4

         B.       The Present Action

              On January 26, 2015, CitiMortgage commenced a foreclosure action against the

Ormans, and in response, the Ormans commenced this action on June 16, 2015, in an

attempt to delay the foreclosure proceedings. The present action is based on the same set

of allegations raised in Orman I, related to CitiMortgage’s right to enforce the Mortgage,


3
         As set forth in CitiMortgage’s Motion to Dismiss, the term “Orman II” refers to
         the action filed by the Ormans in this Court on May 16, 2011, which was
         docketed as Orman v. CitiMortgage, et al., No. 2:11-cv-03196-JHS (E.D. Pa.,
         filed May 16, 2011).
4
         As discussed at length in Defendants’ respective Motions to Dismiss, Orman II
         raised the same claims as Orman I and the present action, and as such the
         Ormans’ claims are already barred by res judicata.

DMEAST #22914044 v4
                                                    4
       Case 2:15-cv-03432-JHS Document 18 Filed 10/05/15 Page 5 of 8




and it requests the same relief. See Complaint at pp. 45-46. The Ormans have displayed

the same dilatory tactics throughout this action, and now, when faced with imminent

dismissal of their claims, they again attempt to dismiss their claims without prejudice

pursuant to Rule 41(a)(1).

III.     ARGUMENT

         A.       The Two Dismissal Rule

         Fed. R. Civ. P. 41(a)(1) provides that “if the plaintiff previously dismissed any

federal-or state-court action based on or including the same claim, a notice of dismissal

operates as an adjudication on the merits.”        The so called “two dismissal rule” is

“designed to prevent abuse of the privilege of notice dismissal granted in Rule 41(a)(1)”,

and is an acknowledgment that “[m]ultiple suits against the same defendant, withdrawn

by the unilateral act of the plaintiff, without court intervention, could . . . provide an

opportunity for harassment.”       Schapiro, on Behalf of Schapiro v. Schapiro, No.

CIV.A.95-CV-2408, 1995 WL 550636, at *1 (E.D. Pa. Sept. 13, 1995) (citing Smith,

Kline & French Laboratories v. A.H. Robins Co., 61 F.R.D. 24, 30 (E.D. Pa. 1973)).

Application of the two dismissal rule is not discretionary, and “[i]f the plaintiff invokes

Rule 41(a)(1) a second time for an action based on or including the same claim, the

action must be dismissed with prejudice.” Cooter & Gell v. Hartmarx Corp., 496 U.S.

384, 394 (1990); see also Hammond v. J.C. Penney Co., No. CIV. A. 97-1240, 1998 WL

42285, at *1 (E.D. Pa. Jan. 9, 1998) (noting that the two dismissal rule applies if a

plaintiff previously dismissed an action in any state or federal court, and then does so an

additional time in federal court, and stating that “[o]nce the Rule is triggered, the claims

asserted in the complaint at issue are res judicata.”) (citations omitted).

         B.       The Ormans’ Claims Should be Dismissed With Prejudice

DMEAST #22914044 v4
                                                  5
       Case 2:15-cv-03432-JHS Document 18 Filed 10/05/15 Page 6 of 8




         As noted above, the Ormans previously dismissed Orman I pursuant to Rule

41(a)(1), and as such, their dismissal of this action under Rule 41(a)(1) invokes the two

dismissal rule, which mandates that their claims be dismissed with prejudice. Moreover,

the claims must be dismissed with prejudice as to all Defendants, even those that were

not a party to Orman I, as the additional defendants in this action are clearly in privity

with CitiMortgage. See St. Clair Intellectual Prop. Consultants v. Samsung Elecs. Co.,

291 F.R.D. 75, 78 (D. Del. 2013) (“Several courts have held that the two dismissal rule

applies if the defendants are the same, substantially the same, or in privity with each

other.”) (citing Catbridge Machinery, LLC v. Cytec Engineered Materials, No. CIV.A.

12-137 SDW, 2012 U.S. Dist. LEXIS 100271, at *3 (D.N.J. July 18, 2012) (stating that

two dismissal rule applies when defendants are the same, substantially the same, or in

privity). As noted in the Motions to Dismiss, the additional defendants were named in

this action as a result of their relationship with CitiMortgage, as its employees, assignor,

and attorneys.        Therefore, the additional defendants are clearly in privity with

CitiMortgage for purposes of the two dismissal rule. See Hussein v. Reality, 2013 U.S.

Dist. LEXIS 143925, *10 (D.N.J. Oct. 3, 2013) (finding privity where newly named

defendants were sued in their capacity as employee and agent of a company.). Thus, the

Ormans’ dismissal of this action under Rule 41(a)(1) acts as an adjudication on the merits

as to all Defendants.

         Finally, any argument that the Ormans’ claims are not “based on or including the

same claim” should be rejected. While the Amended Complaint may advance a different

legal theory and set forth different causes of action, the claims are clearly based on the

same allegations raised in Orman I, as all claims relate to CitiMortgage’s standing to



DMEAST #22914044 v4
                                                 6
       Case 2:15-cv-03432-JHS Document 18 Filed 10/05/15 Page 7 of 8




enforce the Mortgage and the facts surrounding the same. See Cabot Golf CL-PP 1, LLC

v. Cabot Golf CL-PP Acquisition, LLC, No. 5:12CV39, 2013 WL 3927861, at *8 (E.D.

Tex. July 25, 2013) (rejecting plaintiff’s contention that the two dismissal rule did not

apply where the claims differed as “[t]he express language of Rule 41(a)(1)(B) requires

only that the previously dismissed action be based on or including the same claim .“); see

also Bala v. Bank of Am., N.A., 2015 U.S. Dist. LEXIS 107434, *13-14 (C.D. Cal. Aug.

14, 2015) (applying res judicata analysis to determine whether claims are the same for

the purpose of Rule 41). As discussed at length in the respective Motions to Dismiss, the

Ormans’ claims in this action are based on the same set of facts as those raised in Orman

I and Orman II, namely CitiMortgage’s alleged lack of standing to enforce the Mortgage

resulting from the fact that this was a MERS loan. Therefore, the Ormans’ dismissal of

this action clearly invokes the two dismissal rule of Rule 41(a)(1)(B), and as such, the

Complaint must be dismissed with prejudice.

IV.      CONCLUSION

         The Ormans’ attempt to withdraw the Amended Complaint without prejudice is

without effect, as they have previously dismissed an action based on or including the

same claim. Therefore, pursuant to Rule 41(a)(1)(B), the Court should enter an Order

dismissing the Amended Complaint with prejudice.




DMEAST #22914044 v4
                                                7
       Case 2:15-cv-03432-JHS Document 18 Filed 10/05/15 Page 8 of 8




                                      Respectfully submitted,



Dated: October 5, 2015                 /s/ Martin C. Bryce, Jr.____________________
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DMEAST #22914044 v4
                                       8
